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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

                     Plaintiff,

       v.                                       Civil Case No. 15-4011-SAC-KGS

DANA ARTHUR McCOOL; CALVIN
WAYNE BUSH; CHRISTY COLLEEN
SMITH; MICHAEL CURTIS SMITH;
KELLY JEAN McCOOL; DAVID ALAN
McCOOL; THOMAS WHITTER; ARTHUR
ALAN McCOOL, JR.; HEATHER DAWN
PRYOR; NATHANIEL PRYOR; as heirs
of Arthur A. McCool (deceased borrower)
and Kerri Jo Whitter (deceased heir of
Arthur A. McCool); BRITTANY PLUMMER;
MICHAEL PLUMMER; and the Unknown
Heirs, Executors, Administrators, Devisees,
Trustees, Legatees, Creditors, and Assignees
of such of the defendants as may be
deceased; the Unknown Spouses of the
defendants; the Unknown Stockholders,
Officers, Successors, Trustees, Creditors and
Assignees of such defendants as are existing,
dissolved or dormant corporations; the
Unknown Executors, Administrators,
Devisees, Trustees, Creditors, Successors
and Assignees of such defendants as are or
were partners or in partnership; and the
Unknown Guardians, Conservators and
Trustees of such of the defendants as are
minors or are in any way under legal
disability; and the Unknown Heirs,
Executors, Administrators, Devisees,
Legatees, Trustees, Creditors and Assignees
of any Person alleged to be deceased and
made defendants as such,

                             Defendants.

                   ORDER FOR DISTRIBUTION OF SALE PROCEEDS
               OF UNITED STATES MARSHAL’S SALE OF REAL ESTATE
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        Plaintiff’s Motion for Order of Distribution of Sale Proceeds of United States Marshal’s

Sale comes before the Court. The United States of America appears by Barry R. Grissom,

United States Attorney for the District of Kansas, and T.G. Luedke, Assistant United States

Attorney. There are no other appearances.

        The Court, having examined the file and pleadings in this case, finds the following:

        1.      The United States of America obtained an in rem judgment of foreclosure as to

certain real estate and an in rem judgment against Defendants Dana Arthur McCool, Calvin

Wayne Bush, Christy Colleen Smith, Michael Curtis Smith, Kelley Jean McCool, David Alan

McCool, Thomas Whitter, Arthur Alan McCool, Jr., Heather Dawn Pryor, Nathaniel Pryor,

Brittany Plummer, Michael Plummer, and the Unknown Defendants in the above-captioned

action on July 20, 2015. Doc. 23.

        2.      The subject real estate is located in Crawford County, Kansas, described as

follows:

                Lots Numbered Thirty Seven (37) and Thirty Eight (38) in Block
                Number Fourteen (14) in the New York Investment Company's
                "Chaplin Place Addition to the City of Pittsburg, Kansas",
                according to the recorded Plat thereof.

        3.      The subject real estate was sold by the Office of the United States Marshal on

October 9, 2015, to Terri and Victor Runer for the sum of $2,501.00 pursuant to the order of this

Court, and the funds have been receipted by the Clerk of the District Court, District of Kansas,

pursuant to the order of this Court.

        4.      This bidder was the highest and best bidder at the sale and the price is a fair and

equitable price for the property.
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        5.      The sale proceeds are currently held by the Clerk as provided in the Order of

Default Judgment, Judgment of Foreclosure, and Final Judgment entered on July 20, 2015. Doc.

23.

        6.      The proceedings of the United States Marshal under the Order of Sale are regular

and in conformity with law and equity and the orders of this Court and the sale was confirmed by

this Court by order filed October 29, 2015. Doc. 30.

        7.      There was due and owing the United States of America on October 9, 2015, the

date of sale, the sum of $36,219.61.

        8.      The proceeds of the sale should be distributed as follows, in compliance with the

Order of Default Judgment and Judgment of Foreclosure and Final Judgment and the Order of

United States Marshal’s Sale of Real Estate:

                 1. To:     Department of Justice
                            Office of the United States Attorney
                            Attention: Financial Litigation Unit
                            Federal Building, Suite 290
                            444 SE Quincy
                            Topeka, Kansas 66611-3592

                     For: Filing Fee                                          $400.00

                            Total                                                        $400.001




        1
       The filing fee should be distributed as a separate check to the Department Of Justice for
purposes of deposit.
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                 2. To:     Department of Justice
                            Office of the United States Attorney
                            Attention: Administrative Office
                            301 N. Main, Suite 1200
                            Wichita, KS 67202-4812

                     For: Lis Pendens Filing Fee                                $5.00
                          Post-Complaint Title Opinion                        $100.00
                          Publication Fees for Service                        $640.08

                            Total                                                         $745.08

                 3. To:     Ronald L. Miller
                            United States Marshal
                            Federal Building, Suite 456
                            444 SE Quincy
                            Topeka, KS 66611-3592

                     For:   Costs of Sale
                            Service Fee                                       $520.00
                            Mileage                                           $141.45
                            Publication costs                                 $492.20

                            Total                                                        $1,153.65

                 4. To:     Department of Justice
                            Office of the United States Attorney
                            Attention: Financial Litigation Unit
                            Federal Building, Suite 290
                            444 SE Quincy
                            Topeka, Kansas 66611-3592

                     For:   Payment on Judgment                               $202.27

                            Total                                                         $202.27

                            TOTAL PROCEEDS DISTRIBUTED                                   $2,501.00

        The Court having reviewed the files herein and the request, determines that the request

should be granted.
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        THEREFORE IT IS ORDERED, ADJUDGED AND DECREED that pursuant to the

Order of Default Judgment, Judgment of Foreclosure, And Final Judgment entered in this action

on July 20, 2015, the proceeds of the United States Marshal’s Sale in the amount of $2,501.00

should be distributed by the Clerk of this Court as set out above.

        Dated this 9th day of November, 2015.

                                                        s/Sam A. Crow
                                                        SAM A. CROW
                                                        United States District Senior Judge

Submitted by:

BARRY R. GRISSOM
United States Attorney
District of Kansas

 s/ T.G. Luedke
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